Docusign Envelope ID: 8CC396B5-B94A-44B5-8C5B-B7C5CB0EC0EE
                    Case 1:24-cv-06563-LJL               Document 167      Filed 12/24/24    Page 1 of 8




            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK
            -----------------------------------------------------------X
            Ruby Freeman and Wandrea’ Moss

                                      Plaintiffs,                                 Case No. 24-cv-6563(LJL)
                                                                                  Case No. 24-mc-353 (LJL)
                    -    against –
                                                                              Declaration of Rudolph W. Giuliani
            Rudolph W. Giuliani

                                       Defendant.
            -----------------------------------------------------------X

                    Pursuant to 28 U.S.C. § 1746, I, Rudolph W. Giuliani, declare and state under penalties of

            perjury that:

                    1.       I am the defendant in this action.

                    2.       I respectfully submit this Declaration in opposition to the Plaintiffs’ motion to

            hold Defendant in civil contempt and impose sanctions.

                    3.       I respectfully submit that this Court should deny Plaintiffs’ motion for an order

            holding me in civil contempt and imposing sanctions.

                    4.       The October 22, 2024 Court Order (Dkt. 62) stated that “The Court finds that all

            of the items and interests listed in pp. 16-18 should be subject to turnover and receivership…”

            (Exhibit “1”).

                    5.       The October 22, 2024 Court Order (Dkt. 62) directed the turnover of the

            following:

                    a.       “The shares evidencing Defendant’s interest in 45 East 66th Street Owners Corp.”

            I signed documents that were requested to be signed by Plaintiffs’ counsel and counsel for 45

            East 66th Street Owners Corp. which was signed in the Courthouse on November 26, 2024 and

            given by my counsel to Plaintiff’s counsel. I fully complied with this;
Docusign Envelope ID: 8CC396B5-B94A-44B5-8C5B-B7C5CB0EC0EE
                    Case 1:24-cv-06563-LJL            Document 167      Filed 12/24/24      Page 2 of 8




                    b.       “All rights and interests in, and cause of action for, fees owed to Mr. Giuliani for

            services rendered in 2020 and 2021 to former President Trump’s presidential campaign and the

            Republican National Committee”. Plaintiffs have not requested anything regarding this.



                    c.       “The nonexempt cash in the checking accounts held at Citibank, N.A. with

            account numbers ending in -1428 and -5812”. I signed a document directing Citibank, N.A. to

            turn over all nonexempt cash in the checking accounts held at Citibank, N.A. to Plaintiff

            (Exhibit “2”).



                    d.       “Mercedez-Benz, Model SL500, model year 1980”. I turned over the physical

            Mercedes-Benz and compiled with this requirement and Plaintiffs acknowledge that they

            received the Mercedes-Benz. I had the vehicle delivered to Miami, Florida as requested by

            Plaintiffs.


                    e.       “Various items of furniture”, “Television”, “Sports Memorabilia”, “Signed

            Reggie Jackson picture”, “Signed Yankee Stadium picture”, Signed Joe DiMaggio shirt”. Exhibit

            “1 to Plaintiff’s counsel’s declaration filed as Dkt. No. 200-1, shows that I turned over forty two

            (42) items, which is more than what the Court order specifically requires.
Docusign Envelope ID: 8CC396B5-B94A-44B5-8C5B-B7C5CB0EC0EE
                    Case 1:24-cv-06563-LJL            Document 167    Filed 12/24/24     Page 3 of 8




                    I delivered and turned over “Various items of furniture” (See Exhibit Dkt. No. 200-1)

            which included:

                    a. book cabinet,

                    b. three living room end tables,

                    c. living room leather sofa bed,

                    d. storage bed drawer,

                    e. leather office chair,

                    f. living room coffee table,

                    g. folding upholstered chairs,

                    h. two red leather overstuffed chairs,

                    i. drop leaf table,

                    j. rolled mattress,

                    k. seat cushions,

                    l. cushioned ottoman,

                    m. lamp shades,

                    n. lamp and pillows,

                    o. master bedroom slats and hardware,

                    p. master bed siderails,

                    q. sofa bed legs,

                    r. nightstand,

                    s. master bed footboard,

                    t. master bed mirror,

                    u. Storage bed siderails,
Docusign Envelope ID: 8CC396B5-B94A-44B5-8C5B-B7C5CB0EC0EE
                    Case 1:24-cv-06563-LJL            Document 167      Filed 12/24/24        Page 4 of 8




                    v. Master bed headboard,

                    w. Master Bed Dresser,

                    x. PLUS, there was a significant amount of furniture contained in the New York

                         cooperative apartment, which was also turned over to the Plaintiffs. The Court should

                         note that I turned over what I was required to turn over and more.


                    f.       “Television”. I turned over a television, carrier packed wrapped (See Plaintiff’s

            exhibit - Dkt. No. 200-1);


                    g.       “Sports Memorabilia”. I turned over sports memorabilia, including Yankee

            Picture, Yankee Banner, Mickey Mantle Picture, John Daly framed art, Derek Jeter picture,

            (See Plaintiff’s exhibit - Dkt. No. 200-1). The following photos are contained in Plaintiff’s

            exhibit - Dkt. No. 200-1, which shows the Sports Memorabilia items turned over:
Docusign Envelope ID: 8CC396B5-B94A-44B5-8C5B-B7C5CB0EC0EE
                    Case 1:24-cv-06563-LJL            Document 167     Filed 12/24/24     Page 5 of 8




                    There is no Reggie Jackson picture, the picture was Derek Jeter.

                    The Yankee Stadium picture is the “Hallway Yankee Picture”.

                    There is no Signed Joe DiMaggio shirt that I possess, I believe that the Signed Joe

            DiMaggio shirt was hanging in the New York Cooperative apartment at the time that the

            apartment was turned over to Plaintiffs.

                    The Court order did not specifically state that I had to turn over the Yankee Banner, the

            Mickey Mantle Picture, the John Daly art or the Derek Jeter picture, but I turned over these items
Docusign Envelope ID: 8CC396B5-B94A-44B5-8C5B-B7C5CB0EC0EE
                    Case 1:24-cv-06563-LJL            Document 167       Filed 12/24/24      Page 6 of 8




            to comply with the Court’s order.

                    I have given all of the items that the Court required me to provide that I possessed, and

            out of an abundance of caution, additional items were provided to the Plaintiffs.


                    h.       “Costume jewelry” and “Diamond Ring”. I do not possess any costume jewelry. I

            turned over my diamond ring, I turned over 18 watches. I turned over all of the watches that I

            possess and retained one watch that is exempt from judgment under New York and Florida law.

                    6.       I respectfully submit that the items which I was required to turn over, I turned

            over.

                    7.       The Court should see that I gave everything that I could give. I gave items of

            furniture and sports memorabilia that were not specifically listed on the Court’s Turnover Order,

            but I gave them anyway to ensure that I was complying with this Court’s orders.

                    8.       The Instructions Order (Dkt. No. 94 – Exhibit “3”)) required that I was required to

            amend my responses to the Information Subpoena, which I did.

                    9.       The Instructions Order (Dkt. No. 94) required that I tell the Plaintiffs where the

            “outstanding property listed on pp.17-18 of the Turnover Order” was and which had to be

            delivered to Plaintiffs. It is undisputed that I told the Plaintiffs where the items were, they were

            in a storage facility in Ronkonkoma, New York, where Plaintiffs’ attorneys went to and saw all of

            the items located there, and thereafter, I had the items removed from the storage facility in

            Ronkonkoma, New York and delivered to the storage facility in Queens, New York, as directed

            by Plaintiffs’ counsel.

                    10.      As required by the Court’s November 22, 2024 Order, ECF No. 148 ( Exhibit “4”)

            (the “Modified Instructions Order”), I had all of the property at the CTS Facility in

            Ronkonkoma, New York segregated, separating the property that was subject to the Court’s
Docusign Envelope ID: 8CC396B5-B94A-44B5-8C5B-B7C5CB0EC0EE
                    Case 1:24-cv-06563-LJL            Document 167       Filed 12/24/24      Page 7 of 8




            Turnover Order from items that were not subject to the Turnover Order. I complied with this

            requirement.

                    11.      I also provided a detailed list containing pictures of the segregated Receivership

            Property located at the CTS Facility in Ronkonkoma, New York to show the size and quantity of

            that property (See Dkt. No. 200-2) as required by the Modified Instructions Order.

                    12.      I provided the location of the New York-based storage facility to Plaintiffs as

            required by the Modified Instructions Order.

                    13.       I complied with the Court’s three orders, the Turnover Order, the Instructions

            Order and the Modified Instructions Order.

                    14.      I have not intentionally or willfully disobeyed any of this Court’s orders or

            Plaintiffs’ discovery demands. If any documents were not produced by me, it was because I did

            not possess them or was unable to locate them.

                    15.      The following documents were served upon Plaintiffs by my counsel for

            compliance with discovery:

                    a. Defendants’ Amended Response to Plaintiffs’ First Set of Interrogatories (Exhibit “5”);

                    b. Defendants’ Response to Plaintiffs’ First Set of Interrogatories (Exhibit “6”);

                    c. Defendants’ Second Amended Response to Plaintiffs’ First Set of Interrogatories

                          (Exhibit “7”);

                    d. Defendants’ Response to Plaintiffs’ First Set of Document Requests (Exhibit “8”);

                    e. Defendants’ Amended Initial Disclosures Pursuant to Federal Rules of Civil Procedure

                          Rule 26(a)(1) (Exhibit “9”);

                    f. Defendants’ Second Amended Initial Disclosures Pursuant to Federal Rules of Civil

                          Procedure Rule 26(a)(1) (Exhibit “10”);
Docusign Envelope ID: 8CC396B5-B94A-44B5-8C5B-B7C5CB0EC0EE
                      Case 1:24-cv-06563-LJL          Document 167       Filed 12/24/24      Page 8 of 8




                      g. Defendant’s provision of storage facility photos (Exhibit “11”).

                      16.    I respectfully refer to and adopt the Defendant’s memorandum of law.

                      17.    I respectfully submit that I fully or substantially complied with the Court’s Turnover

            Order, the Instructions Order and the Modified Instructions Order.

                      18.    I respectfully submit that I should not be held in contempt or sanctioned.

                      WHEREFORE, it is respectfully requested that Plaintiffs’ motions for contempt and

            sanctions be denied in its entirety and for such other and further relief as this Court deems just and

            proper.

                      I declare under penalty of perjury that the foregoing is true and correct, to the best of my

            knowledge information and belief.

            Dated: December 24, 2024

                                                                    __________________________
                                                                        Rudolph W. Giuliani
